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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MICHAEL LEE,

                Plaintiff,
                                                             No. 13 CY 1074
        v.
                                                              Hon. Charles R. Norgle
CITY OF CHICAGO, et al.,

                Defendants.

                                             ORDER

Defendants' Motion to Dismiss Plaintiffs Complaint [24], which has been converted into a
motion for summary judgment on the issue of collateral estoppel, is denied.

                                          STATEMENT

          Plaintiff Michael Lee ("Plaintiff') sues Defendants City of Chicago and Officers Ryan
 Delaney, Sergio Corona ("Officer Corona"), C. Macniff, Roberto Rodriguez ("Officer
 Rodriguez"), Gary Frear, Mark Kushiner, Warren Johnson, and G. Junkovic (collectively,
 "Defendants") for unlawful seizure and unlawful search in violation of 42 U.S.C. $ 1983, and for
 malicious prosecution in violation of Illinois state law. On May 13,2013, Defendants filed a
 motion to dismiss Plaintiff s complaint, arguing that his claims are barred by collateral estoppel
 based on the state court's finding of probable cause during his preliminary hearing in his
 underlying state court criminal action. On November 21,2013, the Court converted Defendants'
 motion to dismiss into a motion for summary judgment pursuant to Federal Rule of Civil
 Procedure I2(d). The motion for summary judgment is fully briefed and before the Court. For
 the following reasons, the motion is denied.
          'oSummary judgment is appropriate when 'the movant shows that there is no genuine
 dispute as to any material fact and the movant is entitled to judgment as a matter of law."'
Northfield Ins. Co. v. City of Waukegan, 701 F.3d 1124, ll28 (7th Cir. 2012) (quoting Fed. R.
 Civ. P. 56(a)); see also Celotex Corp. v. Catrett,477 TJ.5.317,322 (1986). "A genuine issue of
 material fact exists when the evidence is such that areasonable jury could return a verdict for the
nonmoving party;' Wells v. Coker,707 F.3d756,760 (7th Cir. 2013) (internal quotation marks
 and citation omitted). The Court views the evidence and draws all reasonable inferences in the
light most favorable to the nonmoving party. Id. But before the nonmoving party "can benefit
from a favorable view of evidence, he must first actually place evidence before the courts."
Montgomery v. Am. Airlines. Inc. , 626 F.3d 382, 389 (7th Cir. 2010). Simply showing that
there is "some metaphysical doubt as to the material facts" will not defeat a motion for summary
judgment. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 536 (1986)
(citations omitted); see also Arqyropoulos v. City of Alton, 539 F.3d 724, 732 (7th Cir. 2008).
"Summary judgment is appropriate if the nonmoving party 'fails to make a showing sufficient to
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establish the existence of an element essential to that party's case, and on which that party will
bear the burden of proof at trial."' Majors v. Gen. Elec. Co. ,714 F.3d 527, 532 (7th Cir. 2013)
 (quoting Celotex Corp.,477 U.S. at322).
        The following facts are undisputed. On February 9,2011, Plaintiff was arrested and
 charged with possession of a controlled substance with intent to deliver, in violation of Illinois
 criminal law. Over ayear later, on March 15,2012, a preliminary hearing was held, wherein the
judge determined that there was probable cause to proceed to trial. At the time of the hearing,
Plaintiff was represented by counsel. The prosecutor called one witness, Officer Corona.
 Counsel for Plaintiff cross-examined Officer Corona and marked exhibits. At the conclusion of
the preliminary hearing, the judge stated, "Finding of probable cause. Transferred to the Chief
Judge for arraignment, motion State, April 5. Demand for trial is noted." Defs.' Local Rule 56.1
 Statement of Uncontested Facts in Supp. of Their Mot. for Summ. J. Ex. B, at p. 13. The entire
transcript of the hearing contains only twelve pages of testimony, wherein the judge sustained
ten objections made by the prosecutor to questions posed by Plaintiffs defense counsel. See
Defs.' Resp. to Pl.'s Statement of Additional Facts flfl l, 3. On January 4, 2013, the case
proceeded to a bench trial before a different state court judge, and Plaintiff was ultimately found
not guilty.
        Although the parties contest the majority of the facts with respect to Plaintiff s arrest,
which form the basis of his claims in the instant lawsuit, they agree that probable cause, if
proven, is an absolute defense to all three of Plaintiff s claims. Defendants argue that because
the state court judge made a finding of probable cause at the preliminary hearing on March 15,
2012, Plaintiff is collaterally estopped from arguing that Defendants lacked probable cause here.
Thus, Defendants argue that they are entitled to judgment as a matter of law. At this time, the
broader issue of whether Defendants actually had probable cause is not before the Court----only
whether Plaintiff is collaterally estopped from arguing that they did not.l
        o'The
              doctrine of collateral estoppel generally bars relitigation of issues that were litigated
fully and decided with finality in a previous proceeding." Sornberger v. City of Knoxville, 434
F.3d 1006, 1020 (7th Cir. 2006) (citations omitted). Under Illinois issue preclusion law, which
applies here,
        "an issue litigated in a prior proceeding may not be relitigated if (1) the issue
        decided in the prior adjudication is identical with the one presented in the suit in
        question; (2) there was a final judgment on the merits in the prior adjudication;
        and (3) the party against whom estoppel is asserted was a party or in privity with a
        party to the prior adjudication."
Brown v. City of Chi., 599 F.3d 772,774 (7th Cir. 2010) (quoting Dunlap v. Nestle USA. Inc.,
431 F.3d 1015, 1018 (7th Cir.2005)). However, "collateral estoppel is unavailable when:
(1) 'additional evidence' is discovered after the prior decision; or (2) the party against whom
preclusion is sought was unable to appeal the judgment in the initial action." Somberger, 434
F.3d at 1020.



' With respect to probable   cause, the Court notes that "[t]he existence of probable cause to arrest a suspect
for any offense, even one that was not identified by the officers on the scene or in the charging
documents, will defeat a Fourth Amendment false-arrest claim." Sroga v. Weiglen, 649 F.3d 604, 608
(7th Cir. 20ll) (citations omitted). In addition, "[i]f an officer has probable cause to believe that an
individual has committed even a very minor criminal offense in his presence, he may, without violating
theFourthAmendment,arresttheoffender." Atwaterv.CitvoflagoVista,532U.S.3lS,354(2001).
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         Defendants rely on Jensen v. Foley,295 F .3d 745 (7th Cir. 2002), in arguing that a state
court's finding of probable cause collaterally estops a plaintiff from challenging that finding in a
subsequent $ 1983 case. In Jensen, agents from the Illinois Department of Children and Family
Services ("DCFS") and local law enforcement removed a child from the plaintiffs' home. Id. at
746. A temporary custody hearing was held wherein the state court found that there was
probable cause for the removal of the child. Id. at 747. The plaintiffs subsequently filed a
$ 1983 case alleging that DCFS and local law enforcement violated their Fourth Amendment
rights. Id. The Seventh Circuit found that, because the issue of probable cause had been fully
and fairly determined on the merits by the state court during the temporary custody hearing, the
plaintiffs were collaterally estopped from challenging the existence of probable cause in their
subsequent $ 1983 case. Id. at749.
         Plaintiff, on the other hand, argues that Jensen is inapposite because, inter alia, a finding
of probable cause in a temporary custody hearing results in a final and appealable order, while
the finding of probable cause in a preliminary hearing is more routine and is not immediately
appealable, particularly when the defendant is ultimately acquitted. See Whitley v. Seibel, 676
F.2d245,249-250 (7th Cir. 1982). The Court agrees and finds that Jensen is inapplicable to the
case at hand.
         Furthermore, Plaintiff argues that the doctrine of collateral estoppel does not apply here
because there is no identity of the issues and there was no full and final litigation of probable
cause on the merits. With respect to the identity of issues, Plaintiff cites Whitley for the
proposition that the finding of probable cause in a preliminary hearing is often different from that
at issue in a subsequent $ 1983 case. Whitley, 676 F.2d at249. In Whitley, the court noted that
the preliminary hearing litigated the sufficiency of the evidence necessary to establish probable
cause, as opposed to the integrity of the evidence which was challenged in the subsequent $ 1983
case. Similarly, here, Plaintiff argues that the defendant-officers testified falsely and, thereby
attacks the integrity of the evidence, not the sufficiency which was at issue in the prior
proceeding. Accordingly, as the court stated in Whitley, "[w]e doubt that collateral estoppel
would ever be appropriate solely on the basis of a preliminary hearing; we hold that it is certainly
not appropriate on the facts of this case." ld. at250.
         As to a final judgment on the merits, Plaintiff argues that the preliminary hearing in his
underlying state case did not constitute a full and final litigation of probable cause on the merits.
The Court agrees. The preliminary hearing was a "relatively summary proceeding," with
testimony that spanned only twelve pages of transcripts, where only one witness testified and
Plaintiffs defense counsel was prevented from asking numerous questions by the court on
objection from the prosecution. Id. at 249. The brief and perfunctory proceedings of a
preliminary hearing do not constitute a fulI and fair litigation as required by the doctrine of
collateral estoppel. See United States v. Kashamu, 656 F.3d 679, 686 (7th Cir. 20ll)
("Ordinarily an attempt to give collateral estoppel effect to a finding made in a hearing on a
request for extradition would be blocked because that hearing, like a preliminary hearing for an
arrested person, would not have been full and fair (particularly not full), as the doctrine of
collateral estoppel requires.").
         Additionally, the Court notes that in People v. Mordican, 356 N.E.2d 71,73 (Ill. 1976),
the Illinois Supreme Court held that "acquittal of a criminal defendant forecloses the application
of collateral estoppel in subsequent [criminal] proceedings" because "a defendant who is
acquitted has no opportunity to obtain appellate review of rulings made by the trial judge during
the course of the trial." Sornberger, 434 F.3d at 1021. In Somberger, the Seventh Circuit found
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that Mordican would likewise extend to bar the use of collateral estoppel against a criminal
defendant who was unable to appeal, even when the issue is raised in the context of a subsequent
$ 1983 case, not a subsequent criminal proceeding. Id. at 1022. lnthe instant case, Plaintiff was
found not guilty at his bench trial, and thus was unable to appeal the finding of probable cause
from his preliminary hearing. Therefore, the Court finds that the doctrine collateral estoppel
does not bar Plaintiff from arguing that Defendants lacked probable cause in his $ 1983 case.
        For the foregoing reasons, Defendants' motion for summary judgment on the issue of
collateral estoppel is denied.
        IT IS SO ORDERED.



                                            ENTER:




                                            CHARLES RONALD NORGL
                                            United States District Court

DATE: March 5,2014
